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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION



In Re:                                                      Chapter 11

C.S.C. ENTERPRISES, INC., d/b/a                             Case No.: 21-11549-RAM
SCULLY’S TAVERN,


         Debtor.

                                             /


                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the Notice of Hearing for the
Motion to Dismiss Case, D.E#71 has been served via CM/ECF notification or USPS Mail to the
parties on the attached Mailing Matrix and all others set forth on the NEF on this 1st day of July
2021.

                                                     /s/ Ricardo Corona
                                                     Ricardo R. Corona, Esq.
                                                     Florida Bar No.:111333
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Via CM/ECF
U.S. TRUSTEE
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Miami, FL 33130
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Tarek Kiem – Subchapter V Trustee
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Via U.S. Mail to:
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9809 SW 72 Street
Miami, FL 33173

All creditors and parties in interest listed on the mailing matrix attached hereto.
